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                                                         U.S. Department of Justice

                                                         Channing D. Phillips
                                                         Acting United States Attorney

                                                         District of Columbia


                                                         Judiciary Center
                                                         555 Fourth St., N.W.
                                                         Washington, D.C. 20530


                                                      June 14, 2021

VIA Email and Download Links from USAO.Evidence.com
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       Re:      United States v. Edward Jacob Lang
                Case No. 21-CR-53 (CJN)


Dear Counsel:

       Pursuant to our discovery obligations, we are providing download links to an additional
103 body worn camera (BWC) files listed in the tab called “Round 2” in the attached Excel
spreadsheet. The links should last for a year, please download before then. This should include
any BWC videos mentioned in the discovery recently provided.

        (This list is over-inclusive, as it includes all additionally potentially relevant BWC videos
that I have seen during the review for this and other Lower West Terrace related cases. Out of an
abundance of caution, we are making all of these BWC videos accessible to the defense so that
you can analyze whether they might be relevant to your defense.)

        My understanding is that the office is working to develop a system to make BWC
available on a broader level in the coming months – along with additional files. We continue to
identify additional BWC related to the Lower West Terrace and will provide an additional round
of potentially relevant BWC in the next few weeks – assuming that the database or system that
the office is putting in place is not available by then. In the meantime, to the extent you identify
other officers with BWC that you believe might be relevant to the case, please let us know and
we will do what we can to provide that BWC if it exists.
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       If you have any questions, please feel free to contact me.




Enclosure(s)
cc:




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